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                          IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

   MELANIE DAVIS, et al.,                        )
                                                 )
          Plaintiffs,                            )
                                                 )
   v.                                            )      Case No. 18-cv-81004-RLR
                                                 )
   POST UNIVERSITY, INC.,                        )
                                                 )
          Defendant.                             )

                        DEFENDANT POST UNIVERSITY INC.’S
                   MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

          Defendant Post University Inc. (the “University”), pursuant to Fed. R. Civ. P. 12(b)(6),

   moves for dismissal of Plaintiff’s Class Action Complaint (“Complaint”) against it.

          This case arises under a particular provision, Subsection (c), of the Telephone Consumer

   Protection Act (“TCPA”), 47 U.S.C. § 227. Through this provision, Congress directed the

   Federal Communications Commission (“FCC”) to develop rules “concerning the need to protect

   residential telephone subscribers’ privacy rights to avoid receiving telephone solicitations to

   which they object.” Id. § 227(c)(1) (emphasis added). As defined by Congress, “telephone

   solicitations” are a limited subset of telemarketing calls, expressly excluding telemarketing calls

   to, among others, “any person with whom the caller has an established business relationship.”

   Id. § 227(a)(4). In other words, a business calling individuals with whom it has existing

   relationships is not making telephone solicitations actionable under Subsection (c).

          Instead, Congress authorized a private right of action if a person “received more than one

   telephone call within any 12-month period” placed “in violation of the regulations prescribed

   under this subsection” concerning unwanted telephone solicitations. Id. § 227(c)(5). At the

   same time, Congress made having “reasonable practices and procedures to effectively
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   prevent telephone solicitations in violation of the regulations prescribed under this subsection”

   an affirmative defense to any such action. Id. § 227(c)(5)(C) (emphasis added). Recognizing

   mistakes happen and wanting to avoid strict liability for telephone solicitations sent after a call

   recipient made a do-not-call (“DNC”) request, Congress mandated that if a defendant had

   implemented reasonable practices and procedures to honor DNC requests, this would be a

   complete bar to Subsection (c) claims. Id.

          Plaintiff’s Complaint turns this balanced framework on its head. The affirmative defense

   that was meant to be a shield for callers is now being used as a sword by Plaintiff to turn even

   calls invited by her into after-the-fact “invasions of privacy.” In short, Plaintiff is effectively

   claiming that every call ever made by the University – regardless of the context of the particular

   call – is a DNC violation. Plaintiff advances this theory through the following sleight of hand.

          First, Plaintiff makes the sweeping conclusion that all of the University’s calls were

   telemarketing – even those that were in response to Plaintiff’s inquiries and placed to assist her

   through the admissions process. Based on this false premise, Plaintiff then claims that every

   purported telemarketing call, instead of the more limited telephone solicitations governed by

   Subsection (c), placed by the University to her and the classes of individuals she seeks to

   represent is actionable. According to Plaintiff, this is solely because the University allegedly did

   not have a written policy for maintaining DNC requests and a University employee allegedly did

   not provide this policy to her on demand. Plaintiff then leaps to the untenable legal conclusion

   that every call made by the University is thus a TCPA violation, even if the call recipient

   expressly invited the call, and even if no DNC request was made. Plaintiff’s unbridled theory of

   relief fails as a matter of law, however, for at least two reasons.

          First, Plaintiff and the putative class members she seeks to represent do not have



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   standing to pursue claims for any telephone solicitations placed before making an express DNC

   request. No one could have suffered any concrete injury traceable to the alleged lack of a written

   DNC policy unless and until a DNC request was actually made, and the University failed to

   honor it by placing a later telephone solicitation.

           Second, the TCPA only provides a private right of action to seek recovery for telephone

   solicitations to which a call recipient has objected under Subsection (c). The TCPA does not

   provide a private right of action to enforce the alleged failure to maintain a written DNC policy

   for telemarketing calls, let alone informational calls that are not subject to any DNC obligations.

                                   REGULATORY BACKGROUND

           As noted above, the TCPA authorized the FCC to promulgate regulations “to protect

   residential telephone subscribers’ privacy rights to avoid receiving telephone solicitations to

   which they object.” 47 U.S.C. § 227(c)(1)(A) (emphasis added). Pursuant to this statutory

   directive, the FCC promulgated regulations governing various aspects of telephone solicitations.

   The FCC created a national do-not-call list (“national DNC” or “national registry”), stating that

   “[n]o person or entity shall initiate any telephone solicitation to . . . [a] residential telephone

   subscriber who has registered his or her telephone number on the national do-not-call registry of

   persons who do not wish to receive telephone solicitations that is maintained by the Federal

   Government.” 47 C.F.R. § 64.1200(c)(2).

           Consistent with Congressional intent1 and the statutory framework, the FCC also

   included an affirmative defense to DNC claims in their Subsection (c) rules, providing that



   1
    “We have included a private right of action for consumers harmed by automated or prerecorded
   calls and a different private right of action for consumers who receive telemarketing solicitations.
   We have amended this provision in order to give telemarketers an affirmative defense in court so
   that this provision does not impose strict liability on any telemarketer that might violate
   the provisions of the bill.” 137 Cong. Rec. S18783 (Nov. 27, 1991) (emphasis added).

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   “[a]ny person or entity making telephone solicitations . . . will not be liable for violating this

   requirement if . . . [i]t can demonstrate that the violation is the result of error and that as part of

   its routine business practice, it meets” a number of “minimum standards,” including establishing

   written procedures to comply with the national DNC rules, training personnel to comply with

   national DNC procedures, maintaining a DNC list, and using a process to prevent telephone

   solicitations to any telephone number on any list established pursuant to the DNC rules. 47

   C.F.R. § 64.1200(c)(2)(i)(A)-(D).

           Relevant to the scope of Subsection (c) private rights of action, the term “telephone

   solicitation” is defined as:

           the initiation of a telephone call or message for the purpose of encouraging the
           purchase or rental of, or investment in, property, goods, or services, which is
           transmitted to any person, but such term does not include a call or message:
                    (A) to any person with that person's prior express invitation or
           permission;
                    (B) to any person with whom the caller has an established business
           relationship; or
                    (C) by or on behalf of a tax-exempt nonprofit organization.

   47 U.S.C. § 227(a)(4) (emphasis added); see also 47 C.F.R. § 64.1200(f)(14). Thus, the TCPA

   and its implementing regulations establish that:

           Telemarketing = a call that is encouraging someone to purchase something;

           Telephone solicitation = telemarketing + (No invitation or No EBR2).

   Thus, Subsection (c) of the TCPA and Subsection (c) of the TCPA’s implementing regulation


   2
     An “established business relationship” (“EBR”) is defined in the FCC’s rules as: “a prior or
   existing relationship formed by a voluntary two-way communication between a person or entity
   and a residential subscriber with or without an exchange of consideration, on the basis of the
   subscriber’s purchase or transaction with the entity within the eighteen (18) months immediately
   preceding the date of the telephone call or on the basis of the subscriber's inquiry or application
   regarding products or services offered by the entity within the three months immediately
   preceding the date of the call, which relationship has not been previously terminated by either
   party.” 47 C.F.R. § 64.1200(f)(5).


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   related to telephone solicitations do not encompass telemarketing writ large, but the subset of

   telemarketing calls that are telephone solicitations. That is, a telephone solicitation is

   telemarketing to a stranger, or someone who revoked their permission through a DNC request or

   who no longer has an EBR. A telephone solicitation legally cannot be placing a telemarketing

   call to someone who has invited the call or with whom the caller has an EBR.

           The FCC separately adopted rules regarding internal do-not-call (“internal DNC”)

   procedures applicable to all telemarketing calls in Subsection (d) of its TCPA regulation, among

   other technical and procedural rules. The “internal DNC” regulation states that no person “shall

   initiate any call for telemarketing purposes to a residential telephone subscriber unless such

   person or entity has instituted procedures for maintaining a list of persons who request not to

   receive telemarketing calls made by or on behalf of that person or entity,” and sets forth a

   number of “minimum standards” that the procedures must meet, including honoring, within a

   reasonable time, caller-specific do-not-call requests. Id. § 64.1200(d).

           Notably, the FCC’s rules generally applicable to telemarketing calls in Subsection (d) –

   unlike the rules in Subsection (c) of Rule 64.1200—do not track the private right of action

   contained in Subsection (c) of the TCPA applicable to telephone solicitations. Among other

   differences, the affirmative defense Congress mandated be available to all callers facing a

   Subsection (c) claim—see 47 U.S.C. § 227(c)(5)(C) —is not available under the technical and

   procedural rules the FCC adopted for telemarketing calls. Finally, informational calls placed by

   businesses are not subject to any DNC requirement, but are regulated, if at all, by the restrictions

   on autodialers and prerecorded calls found in Subsection (b) of the TCPA, which are not relevant

   here.




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                                   PLAINTIFF’S ALLEGATIONS

          Plaintiff filed her Corrected Amended Class Action Complaint on August 1, 2018 (the

   “Compl.”). Dkt. No. 8. For purposes of this Motion only, the University assumes that all facts

   pled in the Complaint, excluding legal conclusions alleged as facts, are taken as true.

          Plaintiff alleges that, on August 9, 2017, she initiated contact with the University by

   calling to inquire about enrolling at the University. Compl. ¶¶ 28-29. Two days later, on August

   11, 2017, a University employee called Plaintiff back after previously sending Plaintiff financial

   aid information to assist her with the enrollment process she initiated. Id. ¶¶ 30-32. Plaintiff

   does not allege any detail concerning this call or how it allegedly constituted telemarketing. Id. ¶

   32. Similarly, for the second call Plaintiff alleges she received from the University, Plaintiff

   only asserts that a University employee expressed reluctance to close her file while

   acknowledging Plaintiff’s email purportedly informing the University that she would “no longer

   be able to move forward with attending” the University. Id. ¶¶ 33, 35. Plaintiff’s own

   allegations thus imply that she previously told the University that she wanted to enroll at the

   University, which explains why the University was calling and emailing her concerning financial

   aid paperwork, a standard, transactional part of any college enrollment process. Id. ¶ 30.

          Following additional emails from University employees, Plaintiff alleges that she made

   an express request not to receive any future calls or texts from the University on October 11,

   2017. See id. ¶ 39. Plaintiff asserts that, despite this request, the University attempted to contact

   her by phone on two separate, additional occasions. The first such attempt occurred on January

   11, 2018, although Plaintiff does not allege that she even answered the call, let alone that the

   University encouraged her to purchase its educational services. Id. ¶ 44. The last contact was a

   “text message exchange” that appears to be a single message broken up into five parts by her



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   wireless carrier in which a University employee inquired whether Plaintiff was “still interested in

   earning a Bachelor’s degree in Human Services?” Id. ¶ 48. After this single text message

   exchange, Plaintiff also asserts that she requested that the University produce to her its internal

   policy on maintaining a do-not-call list, and that she did not receive the University’s policy. See

   id. ¶¶ 48-54.

             Based on these allegations, Plaintiff’s Class Action Complaint brings two overlapping

   claims against the University for damages under the TCPA. Count I seeks damages under 47

   U.S.C. § 227(c) of $500 or $1,500 for each telephone call placed by the University “for

   telemarketing purposes” on behalf of herself and the “Internal DNC Class”3 for Post University’s

   alleged failure to keep a written policy pertaining to do-not-call requests. Count II seeks

   damages under 47 U.S.C. § 227(c) on behalf of the “External DNC Class”4 for allegedly placing

   telemarketing calls to her and class members despite them being on the national registry.

   Plaintiff seeks statutory damages “in addition to and separate from any award for damages

   related to” alleged Count I violations for the same call. Compl. ¶ 101.




   3
       Plaintiff defines the Internal DNC Class as:
             Since July 30, 2014, Plaintiff and all persons within the United States to whose
             telephone number Defendant Post University, Inc. placed (or had placed on its
             behalf) two or more telemarketing telephone calls in a 12-month period.” Compl.,
             ¶ 73.
   4
       Plaintiff defines the External DNC Class as:
             Since July 30, 2014, Plaintiff and all persons within the United States to whose
             telephone number Defendant Post University, Inc. placed (or had placed on its
             behalf) two or more telemarketing telephone calls in a 12-month period, when said
             telephone number was on the national “Do Not Call” registry at the time of the calls
             and after the person who Defendant called at that number had asked Defendant to
             stop calling him or her (or words to that effect). Id.

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                                              ARGUMENT

   I.     STANDARD OF REVIEW

          When considering a Rule 12(b)(6) motion to dismiss, the court “take[s] the factual

   allegations in the complaint as true and construe[s] them in the light most favorable to the

   plaintiff[].” Edwards v. Prime, Inc., 602 F.3d 1276, 1291 (11th Cir. 2010). A complaint need

   not contain detailed factual allegations, but the plaintiff cannot rely on “labels and conclusions,

   and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v.

   Twombly, 550 U.S. 544, 555 (2007). The court must disregard legal conclusions, and consider

   only the facts pled. Ashcroft v. Iqbal, 556 U.S. 662, 678-80 (2009). “[W]here the well-pleaded

   facts do not permit the court to infer more than the mere possibility of misconduct, the complaint

   has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief,’” and the complaint

   should be dismissed. Id. at 679 (quoting Fed. R. Civ. P. 8(a)(2)).

   II.    PLAINTIFF’S THEORY OF RELIEF IS NOT TETHERED TO CONCRETE
          INJURY TRACEABLE TO ALLEGED TCPA RULE VIOLATIONS

          A.      Standing Requirements Under Spokeo

          The “irreducible constitutional minimum” of standing consists of three elements: the

   plaintiff “must have (1) suffered an injury in fact, (2) that is fairly traceable to the challenged

   conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial decision.”

   Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). “The plaintiff, as the party invoking federal

   jurisdiction, bears the burden of establishing these elements.” Id. 5




   5
    A class also cannot be certified if some class members lack Article III standing. “Article III
   does not give federal courts the power to order relief to any uninjured plaintiff, class action or
   not. The Judiciary’s role is limited ‘to provid[ing] relief to claimants, in individual or class
   actions, who have suffered, or will imminently suffer, actual harm.’” Tyson Foods, Inc. v.
   Bouaphakeo, 136 S.Ct. 1036, 1053 (2016) (quoting Lewis v. Casey, 518 U.S. 343, 349 (1996)).

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          Spokeo involved a claim brought under the Fair Credit Reporting Act (“FCRA”). 136 S.

   Ct. at 1544. The plaintiff claimed that the defendant, which operated a “people search engine,”

   created a profile for the plaintiff that contained inaccurate information about his marital status,

   age, employment, financial status, and education. Id. at 1546. The Ninth Circuit found it

   irrelevant whether these inaccuracies inflicted any real-world harm on the plaintiff, holding that

   the allegation of a statutory violation was sufficient to confer Article III standing.

          The Supreme Court disagreed and began its analysis by reiterating that injury in fact is

   the “[f]irst and foremost” of the three elements of standing and is “a constitutional requirement”

   that Congress “cannot erase.” Id. at 1547-48. A plaintiff “must show that he or she suffered ‘an

   invasion of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual or

   imminent, not conjectural or hypothetical.’” Id. at 1548 (quoting Lujan v. Defenders of Wildlife,

   504 U.S. 555, 560 (1992)). An injury is “concrete” if it is “‘de facto’; that is, it must actually

   exist.” Id. A plaintiff must prove both particularization and concreteness to establish standing.

   Id.

          The Supreme Court held that a plaintiff does not “automatically” satisfy “the injury-in-

   fact requirement whenever a statute grants a person a statutory right and purports to authorize

   that person to sue to vindicate that right.” Id. at 1549. Rather, “Article III standing requires a

   concrete injury even in the context of a statutory violation.” Id. While concrete harm may be

   based on either a “tangible” or “intangible” injury, “a bare procedural violation, divorced from

   any concrete harm” is insufficient to “satisfy the injury-in-fact-requirement of Article III.” Id.

   (citing Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009)).

          Even though Spokeo was alleged to have violated the FCRA with respect to information

   relating to the plaintiff—which was all the statute required to establish a violation—the Court



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    explained that a violation of the FCRA’s “procedural requirements may result in no harm.” Id. at

    1550. For example, the FCRA requires consumer reporting agencies to notify providers and

    users of consumer information of their statutory responsibilities. Id. at 1545. However, “even if

    a consumer reporting agency fails to provide the required notice . . . , that information regardless

    may be entirely accurate.” Id. at 1550. The Court also held that “not all inaccuracies cause

    harm or present any material risk of harm.” Id.

           B.      Plaintiff’s Failure To Establish A Concrete Injury Traceable To The Alleged
                   TCPA Rule Violation

           Spokeo is dispositive here. An alleged failure to institute the internal DNC procedures

    specified by the FCC’s regulations results in no harm to a call recipient unless the recipient

    attempted to invoke those procedures, and nevertheless received a subsequent telephone

    solicitation. Stated differently, absent an express do-not-call request by Plaintiff and each of the

    putative class members she seeks to represent, the alleged absence of a written DNC policy could

    only result in a “conjectural or hypothetical” injury that the Supreme Court has ruled is

    insufficient to confer Article III standing. Spokeo, 136 S. Ct. at 1547-48.

           Indeed, Spokeo illustrates that alleging a statutory violation does not automatically

    establish standing. Instead, Plaintiff still must demonstrate that she, and each member of the

    class, suffered concrete harm—which is harm that is “actual” and “real.” A “bare procedural

    violation” does not suffice. Id. at 1549; see also Nicklaw v. CitiMortgage, Inc., 839 F.3d 998,

    1001-03 (11th Cir. 2016) (no concrete harm where mortgage servicer did not record satisfaction

    of mortgage within time period required by law); Hancock v. Urban Outfitters, Inc., 830 F.3d

    511, 513-15 (D.C. Cir. 2016) (no harm where merchant asked for zip codes in violation of law

    without any “concrete consequence”); Braitberg v. Charter Comm’cns, Inc., 836 F.3d 925, 929-




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    31 (8th Cir. 2016) (no concrete harm where cable provider retained personally-identifiable

    information in violation of federal law).

            Plaintiff and the putative class members cannot establish the necessary actual harm by

    relying on the University’s alleged failure to establish an internal DNC policy as the

    fountainhead of all their claims. That failure by itself is an archetypal example of a mere

    procedural violation that Spokeo holds insufficient to satisfy Article III. In fact, the underlying

    regulation Plaintiff seeks to enforce requires a company to establish procedures for placing a

    person on an internal DNC list “[i]f a person or entity making a call for telemarketing purposes

    . . . receives a request from a residential telephone subscriber not to receive calls from that

    person or entity.” 47 C.F.R. § 64.1200(d)(3) (emphasis added). The company then “must honor

    a residential subscriber’s do-not-call request within a reasonable time from the date such

    request is made,” which “period may not exceed thirty days.” Id. A residential subscriber who

    has not made any such request, however, has suffered no concrete harm from the failure to

    create a list.

            Without alleging that everyone in the internal DNC class (a) made a do-not-call request

    to the University, and (b) subsequently received an unwanted call, members of this class could

    not have suffered a concrete and particularized injury from the University’s alleged failure to

    have procedures in place to process DNC requests. Rather, Plaintiff and the putative class has at

    most alleged only a bare procedural violation, divorced from the concrete harm the statute is

    intended to prevent—the receipt of additional calls after a company-specific DNC request is

    made. The purpose of the internal DNC regulations is to prevent calls to which a recipient has

    affirmatively objected by requesting placement on the internal DNC list. Where no such request

    is made, the call recipient has suffered no concrete harm.



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           Plaintiff may attempt to argue that the receipt of a telephone call is an injury satisfying

    Article III even though the call was not preceded by a do-not-call request. But the Supreme

    Court’s standing test requires a plaintiff to demonstrate that the alleged injury in fact is “fairly

    traceable” to the defendant’s wrongful conduct. Spokeo, 136 S. Ct. at 1547. In other words, the

    plaintiff must establish that the injury would not have happened if the defendant had complied

    with the law. See also, e.g., Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992) (“there

    must be a causal connection between the injury and the conduct complained of—the injury has

    to be ‘fairly . . . trace[able] to the challenged action of the defendant’”) (quoting Simon v.

    Eastern Ky. Welfare Rights Org., 426 U.S. 26, 41-42 (1976)); see also St. Louis Heart Ctr., Inc.

    v. Nomax, Inc., 899 F.3d 500, 504 (8th Cir. 2018) (holding that the plaintiff failed to show that

    its alleged injury was traceable to the defendant’s failure to adhere to a procedural TCPA rule).

           Even if the University did not have a written policy regarding do-not-call requests

    available on demand, that alleged violation of the TCPA Subsection (d) rules is not traceable to

    any alleged injury Plaintiff or any other putative class member may have suffered until they in

    fact made a request to the University not to call them again. Indeed, the overbreadth of

    Plaintiff’s theory of relief is amply illustrated by her own allegations. It was Plaintiff who first

    contacted the University to enroll there, and the initial reply communications from University

    employees sent to her were in direct response to Plaintiff’s invitation and in order to guide her

    through the admissions and financial aid process. Compl. ¶¶ 28-32.

           As a threshold matter, such solicited calls “whose purpose is to facilitate, complete, or

    confirm a commercial transaction that the recipient has previously agreed to enter into with the

    sender are not advertisements.” Aderhold v. car2go N.A. LLC, 668 F. App’x 795, 796 (9th Cir.

    2016) (emphasis added) (quoting In re Rules and Regulations Implementing the Telephone



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    Consumer Protection Act of 1991, 21 FCC Rcd. 3787, 3812, ¶ 49 (rel. Apr. 6, 2006)). Because

    such transactional calls are not even telemarketing messages, they are outside of the FCC’s DNC

    rules all together. Further, Plaintiff does not allege that she made a do-not-call request until

    October 11, 2017, Compl. ¶ 39. The University’s alleged lack of a written DNC policy thus

    could not have conceivably harmed Plaintiff until after she made such a request, and the

    University allegedly sent her additional telephone solicitations. Here, the only potential

    telephone solicitation that occurred after this alleged DNC request and which Plaintiff supports

    with anything other than labels and conclusions is the one text message exchange on July 17,

    2018. Id. ¶ 48. Plaintiff does not—because she cannot—plausibly allege any concrete injury

    traceable to a violation of the FCC’s DNC rules for telemarketing messages before this one text

    message exchange. Thus, she does not have Article III standing to pursue relief for any

    telephone solicitations allegedly sent in violation of Subsection (c) until after she made a valid a

    do-not-call request. Stated differently, her claims for statutory damages for solicited telephone

    calls she may have received before allegedly making a do-not-call request should be dismissed as

    a matter of law.

            Similarly, Plaintiff also fails to allege that any of the putative Internal DNC Class

    members told the University not to call them. Regardless of whether the University complied

    with the procedural requirements of the regulation, the putative class members would have

    received calls, because they had an established business relationship with the University and

    never asked to be added to a company-specific do-not-call list. Because Plaintiff has not alleged

    that the alleged harm of the calls are traceable to the alleged failure to have a written policy

    pursuant to 47 C.F.R. § 64.1200(d)(1), the basis of her claim on behalf of herself and the putative

    class must also fail.



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           At bottom, Subsection (c) of the TCPA was never meant to reward plaintiffs for calls

    they actively invited, but only “telephone solicitations to which they object[ed].” 47 U.S.C. §

    227(c)(1). Because Plaintiff’s Complaint seeks relief for telephone calls received before any do-

    not-call requests were made, it is fatally overbroad and should be dismissed on this basis alone.

    III.   PLAINTIFF LACKS A PRIVATE RIGHT OF ACTION UNDER THE TCPA

           Plaintiff also lacks standing because she does not have a private right of action under the

    TCPA for either of her claims as pled. This is because: 1) a violation of § 64.1200(d) of the

    TCPA regulations is a technical and procedural violation, which can only be enforced by the

    FCC pursuant to § 227(d) of the TCPA; 2) there is only a private right of action under the TCPA

    for a subset of telemarketing – telephone solicitations – and Plaintiff fails to allege that the

    University made telephone solicitations; and 3) the TCPA only concerns telemarketing calls

    initiated by a seller, and not communications sent by a business in response to information

    requested by a consumer.

           A.      A Violation Of Subsection (d) Of The Regulations Is A Technical And
                   Procedural Violation

           As explained above, Plaintiff’s Count I is predicated on the written policy requirement

    under § 64.1200(d) of the regulations for telemarketing. The written policy requirement is

    merely a technical or procedural rule that only the FCC can enforce. Plaintiff can only bring a

    TCPA lawsuit under 47 U.S.C. § 227(c), but technical and procedural violations can only be

    prosecuted by the FCC under § 227(d) of the TCPA. Consequently, those technical and

    procedural rules lack a private right of action. Similarly, the regulation’s requirement that the

    policy be produced “upon demand,” see 47 C.F.R. § 64.1200(d), necessarily refers to the duty to

    provide the FCC with the policy on its demand in connection with its sole ability to enforce

    TCPA violations pursuant to § 227(d), not to provide any person who asks for the policy. Such a


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    requirement would become unduly burdensome for the University and any other business.

           B.      Plaintiff’s Failure To Allege The University Engaged In Telephone
                   Solicitation

           Second, Subsection (c) of the TCPA regulation, 47 C.F.R. § 64.1200(c), concerns

    telephone solicitations and mirrors Subsection(c) of the statute itself, which is also expressly

    limited to telephone solicitations. Moreover, Subsection (c) in the regulation includes the

    Congressionally mandated affirmative defense of having a written policy regarding maintaining

    do-not-call requests for telephone solicitations. Subsection (d) of the TCPA regulation, by

    contrast, concerns telemarketing broadly and does not mirror Subsection (c) of the TCPA, as it

    does not provide defendants with an affirmative defense for having a written policy regarding

    internal do-not-call lists.6 Simply put, there is nothing in the TCPA or Subsection (d) of the

    regulation that provides a private party the right to file a claim in court regarding alleged

    telemarketing violations.7 Rather, the TCPA provides a private right of action for the limited




    6
      The difference between Subsection (c) and (d) of the regulation is important. The legislative
    history of the TCPA establish that Congress never intended to allow a private right of action for
    telemarketing calls under subsection (d). See 137 Cong. Rec. 18,781 (1991) (stating that
    Congress “included a private right of action for consumers harmed by automated or prerecorded
    calls and a different private right of action for consumers who receive telemarketing
    solicitations,” while giving “telemarketers an affirmative defense in court.”). See Love v. Delta
    Air Lines, 310 F.3d 1347, 1357 (11th Cir. 2002) (“The fact that Congress has expressly provided
    private litigants with one right of action . . . powerfully suggests that Congress did not intend to
    provide other private rights of action.”) (citing Alexander v. Sandoval, 532 U.S. 275, 290 (2001)
    (“The express provision of one method of enforcing a substantive rule suggests that Congress
    intended to preclude others.”)).
    7
     See, e.g., Holmes, P.C. v. Back Doctors, Ltd., 695 F. Supp. 2d 843, 854 (S.D. Ill. 2010) (“Here,
    although Congress created a private right of action under subsection (b) and subsection (c) of 47
    U.S.C. § 227, it did not create such a right under subsection (d) of the statute. Plainly Congress
    knew how to create a private right of action under the TCPA, and the fact that it did so as to
    subsection (b) and subsection (c) but not subsection (d) of 47 U.S.C. § 227 manifests a
    legislative intent not to create a private right of action under subsection (d) of the statute.”)
    (emphasis added).


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    subset of telemarketing calls that are telephone solicitations.

            Indeed, the Eleventh Circuit has already held that only telephone solicitations, and no

    other types of calls, can be properly brought under 47 U.S.C. § 227(c). See Meadows v. Franklin

    Collection Serv., Inc., 414 F. App’x 230, 235–36 (11th Cir. 2011) (Section 227(c)(5) “prohibits

    an entity from making more than one ‘telephone solicitation’ to the same person within a twelve-

    month period.”); see also Mierzwicki v. Citigroup, Inc., No. 14CIV61753BLOOMVALLE, 2015

    WL 10963619, at *2 (S.D. Fla. Sept. 1, 2015) (a count “brought pursuant to § 227(c) of the

    TCPA requires a ‘telephone solicitation’”). Thus, both of Plaintiff’s claims fail as a matter of law

    because she does not allege that the University engaged in any telephone solicitations, but

    instead bases both Counts on broader telemarketing that is not actionable under Subsection (c).

    See Compl. ¶ 73 (defining the putative classes as having received “two or more telemarketing

    telephone calls”); id. ¶ 88 (Count I is based on receiving “calls for telemarketing purposes”; id. ¶

    97 (Count II is also based on receiving “calls for telemarketing purposes”).

           C.      Plaintiff’s Factual Allegations Show That The University Did Not Engage In
                   Telemarketing

           Allowing Plaintiff and the putative classes to pursue recovery for telemarketing calls is

    not merely semantical as it would necessarily sweep in calls placed by the University to

    individuals with whom it had an established business relationship. As previously explained,

    telephone solicitation involves telemarketing without express permission or an established

    business relationship. Moreover, telemarketing itself does not include calls “made in direct

    response to written and oral requests.” Newhart v. Quicken Loans Inc., No. 9:15-CV-81250,

    2016 WL 7118998, at *4 (S.D. Fla. Oct. 12, 2016). “Such invited calls are not unsolicited

    telemarketing calls ‘initiated’ for the purpose of marketing a good or service.” Id. (citing 47

    C.F.R. § 64.1200(f)(12)); see also Jacobs v. Quicken Loans, Inc., No. 15-81386-CIV, 2017 WL


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    4838567, at *3 (S.D. Fla. Oct. 19, 2017), reconsideration denied, 2017 WL 8751757 (S.D. Fla.

    Dec. 6, 2017) (calls not initiated by defendant does not constitute telemarketing); Wick v. Twilio

    Inc., No. C16-00914RSL, 2017 WL 2964855, at *5 (W.D. Wash. July 12, 2017) (message

    received was aimed at completing commercial transaction that the plaintiff initiated and thus the

    message did not constitute telemarketing).

           Here, Plaintiff alleges under both Count I and Count II that the University placed

    telemarketing calls to her and the putative class members. However, Plaintiff’s factual

    allegations include calls that were not telemarketing calls but were instead in direct response to

    her inquiries. That is not telemarketing as a matter of law. Rather, it was simply a transactional

    customer service call, in response to Plaintiff’s request for more information on enrolling at the

    University. See Newhart, 2016 WL 7118998, at *4; see also Wick v. Twilio Inc., No. C16-

    00914RSL, 2016 WL 6460316, at *2 (W.D. Wash. Nov. 1, 2016). To the extent that any of the

    calls at issue were responses to direct inquiries, made before any do-not-call request, Plaintiff has

    no claim as a matter of law.

           The facts, as alleged by Plaintiff, also establish that she did not immediately revoke her

    consent to the alleged calls. Although she requested the University “close [her] file” in

    connection with her admissions application for the upcoming semester, See Compl. ¶ 36, this is

    not enough to be a “do not call” request under the TCPA. See Schweitzer v. Comenity Bank, 866

    F.3d 1273, 1278 (11th Cir. 2017) (requiring a “clearly expresse[d] . . . desire not to receive

    further [calls]”) (citing In the Matter of Rules & Regulations Implementing the TCPA, 30 F.C.C.

    Rcd. 7961, 7996, 2015 WL 4387780 (2015) (“the TCPA requires . . . the called party clearly

    express his or her desire not to receive further calls” (emphasis added)).

           At bottom, Plaintiff’s claims are inherently overbroad as a matter of law and she lacks a



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    private right of action to bring them under the TCPA. Consequently, her claims as currently pled

    must be dismissed.

                                             CONCLUSION

            For the reasons stated above, Post University respectfully requests that the Court grant its

    Motion to Dismiss for failure to state a claim under Fed. R. Civ. P. 12(b)(6), and dismiss all

    claims against it.

    Dated: September 14, 2018                     Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on September 14, 2018, the foregoing was filed electronically with
    the Clerk of Court to be served by Notice of Electronic Filing from the Court’s electronic filing
    system upon the following:

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